Case 2:04-cr-20195-SH|\/| Document 69 Filed 04/21/05 Page 1 of 2 Page|D 83

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IN THE UNITED sTATEs DISTRICT coURT pb
FoR THE wEsTERN DISTRICT oF TENNESSE§§ @pR 2' fm j j
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W.D. OF TN. MEN‘:FH!S

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20195"01-Ma

VS.

LEO BEARDEN,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25r 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 2l, 2005 at 2:00 p.m.

The period fronl March 25, 2005 through May l3, 2005 is
excludable under l8 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

I'r Is so 0RDERED this mpg day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

